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   EXHIBIT A
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Client                 John Harney                                                                                                                                                                   File No. GP116878J
Property Address       4842 Camino Hermoso
City                   North Las Vegas                                                                     County Clark                                                                State NV                     Zip Code 89031-1049
Lender                 John Harney


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RESIDENTIAL APPRAISAL SUMMARY REPORT                                                                                                                                           File No.: GP116878J
                                  Property Address: 4842 Camino Hermoso                                                      City: North Las Vegas                          State: NV        Zip Code: 89031-1049
                                  County: Clark                                                   Legal Description: Villas De Vientos Plt Bk 47 Pg 20 Lt 66 Blk 3
SUBJECT




                                                                                                                                         Assessor's Parcel #: 124-33-415-033
                                  Tax Year: 2011             R.E. Taxes: $ 1,106.26          Special Assessments: $ 0.00                 Borrower (if applicable): NA
                                  Current Owner of Record:        Trustee Clark County Treasurer                                Occupant:         Owner           Tenant         Vacant           Manufactured Housing
                                  Project Type:            PUD          Condominium            Cooperative        Other (describe)                                     HOA: $ None               per year      per month
                                  Market Area Name: Villas De Vientos                                                            Map Reference: 24-E6                               Census Tract: 0036.07
                                  The purpose of this appraisal is to develop an opinion of:          Market Value (as defined), or        other type of value (describe)
                                  This report reflects the following value (if not Current, see comments):           Current (the Inspection Date is the Effective Date)           Retrospective         Prospective
ASSIGNMENT




                                  Approaches developed for this appraisal:           Sales Comparison Approach           Cost Approach          Income Approach (See Reconciliation Comments and Scope of Work)
                                  Property Rights Appraised:           Fee Simple           Leasehold        Leased Fee           Other (describe)
                                  Intended Use: Valuation Purposes

                                  Intended User(s) (by name or type): John Harney
                                  Client: John Harney                                                    Address: 4842 Camino Hermoso , North Las Vegas, NV 89031
                                  Appraiser: Bruce Feldman                                               Address: 7357 Savannah Falls St, Las Vegas, NV 89131
                                  Location:             Urban            Suburban         Rural            Predominant           One-Unit Housing           Present Land Use        Change in Land Use
                                  Built up:             Over 75%         25-75%           Under 25%         Occupancy           PRICE              AGE     One-Unit    75+/- %     Not Likely
                                                                                                             Owner 80+/- $(000)                   (yrs) 2-4 Unit
MARKET AREA DESCRIPTION




                                  Growth rate:          Rapid            Stable           Slow                                                                          5+/- %     Likely *      In Process *
                                  Property values:      Increasing       Stable           Declining          Tenant 15+/- 56+/- Low 12+/- Multi-Unit                    5+/- % * To:
                                  Demand/supply:        Shortage         In Balance       Over Supply        Vacant (0-5%) 135+/- High 26+/- Comm'l                     5+/- %
                                  Marketing time:       Under 3 Mos.     3-6 Mos.         Over 6 Mos.        Vacant (>5%) 85+/- Pred 20+/- Other                       10+/- %
                                  Market Area Boundaries, Description, and Market Conditions (including support for the above characteristics and trends):       Market area boundaries are Tropical on the
                                  N, Alexander on the South, Allen on the W, Commerce on the E. After researching the mrkt area surrounding the subj with the assistance of MLS,CC Asses and
                                  my knowledge of the marketing conditions in the Valley I have come to the conclusion that the supply and demand in the area is currently over supplied with
                                  average marketing time <3 months. Median SP/LP ratio 100%+/-. Median DOM 28+/- Due to the prevalence of bank owned properties it was necessary to utilize
                                  such properties as comps.




                                  Dimensions: 64'X100' (As per Assessor)                                                                              Site Area: 6,363 Sq.Ft.
                                  Zoning Classification: PUD                                                                                          Description: Planned Unit Development
                                                                                                         Zoning Compliance:       Legal                   Legal nonconforming (grandfathered)      Illegal                    No zoning
                                  Are CC&Rs applicable?       Yes         No       Unknown           Have the documents been reviewed?                  Yes       No Ground Rent (if applicable) $                        NA /
                                  Highest & Best Use as improved:         Present use, or            Other use (explain)

                                  Actual Use as of Effective Date: Single-Family Residential                Use as appraised in this report: Single-Family Residential
                                  Summary of Highest & Best Use: Subject conforms to the area,present residential use represents the highest and best use for the subject.
SITE DESCRIPTION




                                  Utilities      Public Other     Provider/Description Off-site Improvements Type               Public Private                              Topography        Mainly level
                                  Electricity                  Public                  Street        Asphalt                                                                Size              Typical
                                  Gas                          Public                  Curb/Gutter Concrete                                                                 Shape             Corner/Rectangular
                                  Water                        Public                  Sidewalk      Concrete                                                               Drainage          Typical
                                  Sanitary Sewer               Public                  Street Lights Gas Vapor                                                              View              Residential
                                  Storm Sewer                  Public                  Alley         None
                                  Other site elements:     Inside Lot       Corner Lot    Cul de Sac     Underground Utilities Other (describe)
                                  FEMA Spec'l Flood Hazard Area       Yes      No FEMA Flood Zone X                FEMA Map # 32003C2160E                                                       FEMA Map Date 9/27/2002
                                  Site Comments: Site is a typical average sized residential lot




                                  General Description                        Exterior Description                 Foundation                  Basement           None         Heating Central
                                  # of Units                1     Acc.Unit   Foundation           Conc Slab       Slab         Concrete       Area Sq. Ft.                    Type      FWA
                                  # of Stories 1-Story                       Exterior Walls       Frame/Stucco    Crawl Space No              % Finished                      Fuel      Gas
                                  Type       Det.      Att.                  Roof Surface         Conc Tile       Basement No                 Ceiling
                                  Design (Style) 1-Story/Aver                Gutters & Dwnspts. None Noted        Sump Pump                   Walls                           Cooling
                                      Existing      Proposed     Und.Cons.   Window Type          Al Slider/Aver  Dampness                    Floor                           Central CAC
                                  Actual Age (Yrs.) 20                       Storm/Screens        Screens/Aver    Settlement No               Outside Entry                   Other
DESCRIPTION OF THE IMPROVEMENTS




                                  Effective Age (Yrs.) 10+/-                                                      Infestation No
                                  Interior Description                     Appliances         Attic     None Amenities                                                 Car Storage            None
                                  Floors           Carpet/Tile/Aver        Refrigerator       Stairs         Fireplace(s) #       1        Woodstove(s) #              Garage # of cars ( 4 Tot.)
                                  Walls            Drywall/Aver            Range/Oven         Drop Stair     Patio      Open                                             Attach.      2
                                  Trim/Finish      Wood/Paint/Aver         Disposal           Scuttle        Deck                                                        Detach.
                                  Bath Floor       Tile/Aver               Dishwasher         Doorway        Porch Cvd                                                   Blt.-In
                                  Bath Wainscot Fiberglass/Aver            Fan/Hood           Floor          Fence Concrete Block                                      Carport
                                  Doors            Raised Panel/Aver       Microwave          Heated         Pool                                                      Driveway 2
                                                                           Washer/Dryer       Finished                                                                   Surface Concrete
                                  Finished area above grade contains:         6 Rooms                  3 Bedrooms             2.00 Bath(s)          1,396 Square Feet of Gross Living Area Above Grade
                                  Additional features:   Tile entry/kitchen/baths, tile fireplace, tile bathroom and kitchen counter tops.

                                  Describe the condition of the property (including physical, functional and external obsolescence):            The subject's improvements are noted to be in avg condition w/no
                                  physical,functional or external obsolescence noted. No "needed repairs"of significance were noted although it is possible that some may exist,especially if they
                                  were not readily visible to the appraiser. The appraisal should not be relied on as a substitute for a home inspection. While no physical deficiencies or adverse
                                  conditions that affect livability,soundness or structural integrity were noted,such items are often beyond the expertise of the appraiser.Issues of soundness or
                                  structural integrity are often related to areas that are unapparent or hidden from the appraiser's view. All utilities were on & functional at time of
                                  inspection.

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RESIDENTIAL APPRAISAL SUMMARY REPORT                                                                                                                                       File No.: GP116878J
                            My research         did      did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                            Data Source(s): MLS,CC Assessor
TRANSFER HISTORY




                                    1st Prior Subject Sale/Transfer          Analysis of sale/transfer history and/or any current agreement of sale/listing: The subject has not had any listings or
                            Date:       NA                                   transfers within the last three years. MLXchange/CC Assessor/Recorder.
                            Price:      NA
                            Source(s): MLS/CC Assess/Recorder
                                   2nd Prior Subject Sale/Transfer
                            Date:       NA
                            Price:      NA
                            Source(s): MLS/CC Assess/Recorder
                            SALES COMPARISON APPROACH TO VALUE (if developed)                             The Sales Comparison Approach was not developed for this appraisal.
                                     FEATURE                    SUBJECT                     COMPARABLE SALE # 1                          COMPARABLE SALE # 2                          COMPARABLE SALE # 3
                            Address 4842 Camino Hermoso                             5630 Cabinhill Circle                       5018 Sail Rock Place                          2218 Hollow Oak Avenue
                                       North Las Vegas, NV 89031                    North Las Vegas, NV 89031                   North Las Vegas, NV 89031                     North Las Vegas, NV 89031
                            Proximity to Subject                                    0.98 miles N                                0.43 miles NW                                 0.83 miles NW
                            Sale Price                  $                       0                          $          83,000                            $          90,000                            $       86,000
                            Sale Price/GLA              $                 0 /sq.ft. $       56.58 /sq.ft.                       $        65.74 /sq.ft.                        $        65.95 /sq.ft.
                            Data Source(s)              MLS/CC Assessor ML#1090923 DOM 22 OLP 90                                ML#1095468 DOM 80 OLP 95 ML#1122784 DOM 15 OLP 85
                            Verification Source(s)      Inspection                  Doc#2010121302580 CDOM 49 Doc#2011032100693 CDOM130 Doc#2011032500300 CDOM 29
                              VALUE ADJUSTMENTS               DESCRIPTION                DESCRIPTION           +(-) $ Adjust.         DESCRIPTION           +(-) $ Adjust.          DESCRIPTION        +(-) $ Adjust.
                            Sales or Financing          NA                          Cash                                        FHA                                           Cash
                            Concessions                 NA                          None Noted                                  None Noted                                    None Noted
                            Date of Sale/Time           NA                          12/13/2010 SD                               03/21/2011 SD                                 03/25/2011 SD
                            Rights Appraised            Fee Simple                  Fee Simple                                  Fee Simple                                    Fee Simple
                            Location                    Average                     Average                                     Average                                       Average
                            Site                        6,363 Sq.Ft.                6,900 Sq. Ft.                               5,378 Sq.Ft.                                  6,362 Sq.Ft.
                            View                        Residential                 Residential                                 Residential                                   Residential
                            Design (Style)              1-Story/Aver                1-Story/Aver                                1-Story/Aver                                  1-Story/Aver
                            Quality of Construction Average                         Average                                     Average                                       Average
                            Age                         20                          20                                          12                                            12
                            Condition                   Average                     Average                                     Average                                       Average
                            Above Grade                  Total Bdrms Baths          Total Bdrms Baths                           Total Bdrms Baths                              Total Bdrms Baths
                            Room Count                    6       3      2.00         6      3      2.00                          5       3      2.00                           5      3        2.00
                            Gross Living Area                       1,396 sq.ft.               1,467 sq.ft.                                 1,369 sq.ft.                                 1,304 sq.ft.
                            Basement & Finished         None                        None                                        None                                          None
                            Rooms Below Grade           None                        None                                        None                                          None
                            Functional Utility          Adequate                    Adequate                                    Adequate                                      Adequate
                            Heating/Cooling             FWA/Central                 FWA/Central                                 FWA/Central                                   FWA/Central
                            Energy Efficient Items      Standard                    Standard                                    Standard                                      Standard
SALES COMPARISON APPROACH




                            Garage/Carport              2-Garage                    2-Garage                                    2-Garage                                      2-Garage
                            Porch/Patio/Deck            CvPch                       CvPch/CvPatio                               CvPch/CvPatio                                 CvPch/Patio
                            Fireplace                   1-Fireplace                 1-Fireplace                                 1-Fireplace                                   No-Fireplace
                            Landscaping                 Average                     Average                                     Average                                       Average
                            Pool/Spa                    No Pool                     No Pool                                     No Pool                                       No Pool


                            Net Adjustment (Total)                                        +             -     $                             +             -     $                             +            -     $
                            Adjusted Sale Price                                       Net                   %                           Net                   %                           Net                  %
                            of Comparables                                           Gross                  %$           83,000        Gross                  %$           90,000        Gross                 %$            86,000
                            Summary of Sales Comparison Approach         Comps are of similar quality of construction,design,utility & mrkt appeal. The comps used are considered to be reliable
                            indicators of value for the subject's mrkt area & would appear to appeal to similar buyers. All adjustments deemed necessary pos/neg have been applied to the
                            comps to present a clear & accurate mrkt value estimation of the subj. All adjust rounded to the nearest hundred.No personal property has been included in the
                            opinion of mrkt value. All comps have been given some consideration. No adj has been for difference in fireplace/patio/site due to the lack of market reaction to
                            such items. Due to the mrkt being driven/defined by Bank owned/short sale/foreclosure properties it may have been necessary to utilize such properties in the
                            report. The comps previous sales within the past year are trustees deed's. Comps #1 & #3 current sales are bank-owned. Comp #2 current sale is privately
                            owned.




                            Indicated Value by Sales Comparison Approach $                  86,000
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RESIDENTIAL APPRAISAL SUMMARY REPORT                                                                                                                                    File No.: GP116878J
                  COST APPROACH TO VALUE (if developed)                       The Cost Approach was not developed for this appraisal.
                  Provide adequate information for replication of the following cost figures and calculations.
                  Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value):




                  ESTIMATED          REPRODUCTION OR        REPLACEMENT COST NEW                  OPINION OF SITE VALUE                                                                             =$
COST APPROACH




                  Source of cost data:                                                            DWELLING                                                     Sq.Ft. @ $                           =$
                  Quality rating from cost service:         Effective date of cost data:                                                                       Sq.Ft. @ $                           =$
                  Comments on Cost Approach (gross living area calculations, depreciation, etc.):                                                              Sq.Ft. @ $                           =$
                  The cost approach is not a FNMAE GUIDELINE and was not developed                                                                             Sq.Ft. @ $                           =$
                  and is given no consideration.                                                                                                               Sq.Ft. @ $                           =$
                                                                                                                                                                                                    =$
                                                                                                                      Garage/Carport                     Sq.Ft. @ $                                 =$
                                                                                                                      Total Estimate of Cost-New                                                    =$
                                                                                                                      Less              Physical       Functional   External
                                                                                                                      Depreciation                                                                  =$(                     )
                                                                                                                      Depreciated Cost of Improvements                                              =$
                                                                                                                      ''As-is'' Value of Site Improvements                                          =$
                                                                                                                                                                                                    =$
                                                                                                                                                                                                    =$
                  Estimated Remaining Economic Life (if required):                                   50 Years INDICATED VALUE BY COST APPROACH                                                      =$
                  INCOME APPROACH TO VALUE (if developed)                     The Income Approach was not developed for this appraisal.
INCOME APPROACH




                  Estimated Monthly Market Rent $                             X Gross Rent Multiplier                      =$                                                    Indicated Value by Income Approach
                  Summary of Income Approach (including support for market rent and GRM):




                  PROJECT INFORMATION FOR PUDs (if applicable)                        The Subject is part of a Planned Unit Development.
                  Legal Name of Project:
                  Describe common elements and recreational facilities:
PUD




                  Indicated Value by: Sales Comparison Approach $ 86,000     Cost Approach (if developed) $ NA         Income Approach (if developed) $ NA
                  Final Reconciliation The Sales Comparison approach is the most relevant appraisal technique in developing market value for real properties thus
                  was given the most consideration. The Cost Approach and Income Approach are deemed not applicable.
RECONCILIATION




                  This appraisal is made       ''as is'',     subject to completion per plans and specifications on the basis of a Hypothetical Condition that the improvements have been
                  completed,        subject to the following repairs or alterations on the basis of a Hypothetical Condition that the repairs or alterations have been completed, subject to
                  the following required inspection based on the Extraordinary Assumption that the condition or deficiency does not require alteration or repair: Subject to the limiting
                   conditions and certifications made part of this report.

                      This report is also subject to other Hypothetical Conditions and/or Extraordinary Assumptions as specified in the attached addenda.
                  Based on the degree of inspection of the subject property, as indicated below, defined Scope of Work, Statement of Assumptions and Limiting Conditions,
                  and Appraiser’s Certifications, my (our) Opinion of the Market Value (or other specified value type), as defined herein, of the real property that is the subject
                  of this report is: $               86,000                 , as of:                04/27/2011                     , which is the effective date of this appraisal.
                  If indicated above, this Opinion of Value is subject to Hypothetical Conditions and/or Extraordinary Assumptions included in this report. See attached addenda.
                  A true and complete copy of this report contains 15 pages, including exhibits which are considered an integral part of the report. This appraisal report may not be
ATTACHMENTS




                  properly understood without reference to the information contained in the complete report.
                  Attached Exhibits:
                         Scope of Work                    Limiting Cond./Certifications      Narrative Addendum          Photograph Addenda                Sketch Addendum
                         Map Addenda                      Additional Listings                Cost Addendum               Flood Addendum                    Manuf. House Addendum
                         Hypothetical Conditions          Extraordinary Assumptions
                  Client Contact: John Harney                                                       Client Name: John Harney
                  E-Mail:                                                                   Address: 4842 Camino Hermoso , North Las Vegas, NV 89031
                  APPRAISER                                                                                         SUPERVISORY APPRAISER (if required)
                                                                                                                    or CO-APPRAISER (if applicable)
SIGNATURES




                                                                                                                    Supervisory or
                  Appraiser Name: Bruce Feldman                                                                     Co-Appraiser Name:
                  Company: Silver State Appraisers                                                                  Company:
                  Phone: (702) 631-2220                            Fax:                                             Phone:                                           Fax:
                  E-Mail: silverstateappraisers@cox.net                                                             E-Mail:
                  Date of Report (Signature): 04/29/2011                                                            Date of Report (Signature):
                  License or Certification #: A.0007448-CR                                State: NV                 License or Certification #:                                                          State:
                  Designation:      Certified                                                                       Designation:
                  Expiration Date of License or Certification:    08/31/2011                                        Expiration Date of License or Certification:
                  Inspection of Subject:           Interior & Exterior       Exterior Only        None              Inspection of Subject:           Interior & Exterior                  Exterior Only             None
                  Date of Inspection:                               04/27/2011                                      Date of Inspection:
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Assumptions & Limiting Conditions                                                                                      File No.: GP116878J
 Property Address: 4842 Camino Hermoso                                            City: North Las Vegas             State: NV      Zip Code: 89031-1049
 Client: John Harney                                                   Address: 400 Stewart Avenue, Las Vegas, NV 89101
 Appraiser: Bruce Feldman                                              Address: 7357 Savannah Falls St, Las Vegas, NV 89131
 STATEMENT OF ASSUMPTIONS & LIMITING CONDITIONS
 — The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title to it. The appraiser
 assumes that the title is good and marketable and, therefore, will not render any opinions about the title. The property is appraised on the basis
 of it being under responsible ownership.
 — The appraiser may have provided a sketch in the appraisal report to show approximate dimensions of the improvements, and any such sketch
 is included only to assist the reader of the report in visualizing the property and understanding the appraiser's determination of its size. Unless
 otherwise indicated, a Land Survey was not performed.
 — If so indicated, the appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency (or other
 data sources) and has noted in the appraisal report whether the subject site is located in an identified Special Flood Hazard Area. Because the
 appraiser is not a surveyor, he or she makes no guarantees, express or implied, regarding this determination.
 — The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question, unless specific
 arrangements to do so have been made beforehand.
 — If the cost approach is included in this appraisal, the appraiser has estimated the value of the land in the cost approach at its highest and best
 use, and the improvements at their contributory value. These separate valuations of the land and improvements must not be used in conjunction
 with any other appraisal and are invalid if they are so used. Unless otherwise specifically indicated, the cost approach value is not an insurance
 value, and should not be used as such.
 — The appraiser has noted in the appraisal report any adverse conditions (including, but not limited to, needed repairs, depreciation, the presence
 of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property, or that he or she became aware of during the
 normal research involved in performing the appraisal. Unless otherwise stated in the appraisal report, the appraiser has no knowledge of any
 hidden or unapparent conditions of the property, or adverse environmental conditions (including, but not limited to, the presence of hazardous
 wastes, toxic substances, etc.) that would make the property more or less valuable, and has assumed that there are no such conditions and
 makes no guarantees or warranties, express or implied, regarding the condition of the property. The appraiser will not be responsible for any
 such conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist. Because the
 appraiser is not an expert in the field of environmental hazards, the appraisal report must not be considered as an environmental assessment of
 the property.
 — The appraiser obtained the information, estimates, and opinions that were expressed in the appraisal report from sources that he or she
 considers to be reliable and believes them to be true and correct. The appraiser does not assume responsibility for the accuracy of such items
 that were furnished by other parties.
 — The appraiser will not disclose the contents of the appraisal report except as provided for in the Uniform Standards of Professional Appraisal
 Practice, and any applicable federal, state or local laws.
 — If this appraisal is indicated as subject to satisfactory completion, repairs, or alterations, the appraiser has based his or her appraisal report
 and valuation conclusion on the assumption that completion of the improvements will be performed in a workmanlike manner.
 — An appraiser's client is the party (or parties) who engage an appraiser in a specific assignment. Any other party acquiring this report from the
 client does not become a party to the appraiser-client relationship. Any persons receiving this appraisal report because of disclosure requirements
 applicable to the appraiser's client do not become intended users of this report unless specifically identified by the client at the time of the
 assignment.
 — The appraiser's written consent and approval must be obtained before this appraisal report can be conveyed by anyone to the public, through
 advertising, public relations, news, sales, or by means of any other media, or by its inclusion in a private or public database.
 — An appraisal of real property is not a 'home inspection' and should not be construed as such. As part of the valuation process, the appraiser
 performs a non-invasive visual inventory that is not intended to reveal defects or detrimental conditions that are not readily apparent. The presence
 of such conditions or defects could adversely affect the appraiser's opinion of value. Clients with concerns about such potential negative factors
 are encouraged to engage the appropriate type of expert to investigate.




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Definitions & Scope of Work                                                                                            File No.: GP116878J
 Property Address: 4842 Camino Hermoso                                            City: North Las Vegas             State: NV      Zip Code: 89031-1049
 Client: John Harney                                                   Address: 400 Stewart Avenue, Las Vegas, NV 89101
 Appraiser: Bruce Feldman                                              Address: 7357 Savannah Falls St, Las Vegas, NV 89131
 DEFINITION OF MARKET VALUE *:
 Market value means the most probable price which a property should bring in a competitive and open market under all conditions requisite
 to a fair sale, the buyer and seller each acting prudently and knowledgeably, and assuming the price is not affected by undue stimulus.
 Implicit in this definition is the consummation of a sale as of a specified date and the passing of title from seller to buyer under conditions
 whereby:
 1. Buyer and seller are typically motivated;
 2. Both parties are well informed or well advised and acting in what they consider their own best interests;
 3. A reasonable time is allowed for exposure in the open market;
 4. Payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and
 5. The price represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions
 granted by anyone associated with the sale.
 * This definition is from regulations published by federal regulatory agencies pursuant to Title XI of the Financial Institutions
 Reform, Recovery, and Enforcement Act (FIRREA) of 1989 between July 5, 1990, and August 24, 1990, by the Federal Reserve System
 (FRS), National Credit Union Administration (NCUA), Federal Deposit Insurance Corporation (FDIC), the Office of Thrift Supervision (OTS),
 and the Office of Comptroller of the Currency (OCC). This definition is also referenced in regulations jointly published by the OCC, OTS,
 FRS, and FDIC on June 7, 1994, and in the Interagency Appraisal and Evaluation Guidelines, dated October 27, 1994.



 The Scope of Work is the type and extent of research and analyses performed in an appraisal assignment that is required to produce credible
 assignment results, given the nature of the appraisal problem, the specific requirements of the intended user(s) and the intended use of the
 appraisal report. Reliance upon this report, regardless of how acquired, by any party or for any use, other than those specified in this report by
 the Appraiser, is prohibited. The Opinion of Value that is the conclusion of this report is credible only within the context of the Scope of Work,
 Effective Date, the Date of Report, the Intended User(s), the Intended Use, the stated Assumptions and Limiting Conditions, any Hypothetical
 Conditions and/or Extraordinary Assumptions, and the Type of Value, as defined herein. The appraiser, appraisal firm, and related parties assume
 no obligation, liability, or accountability, and will not be responsible for any unauthorized use of this report or its conclusions.




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Certifications                                                                                                                          File No.: GP116878J
             Property Address: 4842 Camino Hermoso                                                 City: North Las Vegas             State: NV      Zip Code: 89031-1049
             Client: John Harney                                                        Address: 400 Stewart Avenue, Las Vegas, NV 89101
             Appraiser: Bruce Feldman                                                   Address: 7357 Savannah Falls St, Las Vegas, NV 89131
             APPRAISER'S CERTIFICATION
             I certify that, to the best of my knowledge and belief:— The statements of fact contained in this report are true and correct.— The credibility of this
             report, for the stated use by the stated user(s), of the reported analyses, opinions, and conclusions are limited only by
             the reported assumptions and limiting conditions, and are my personal, impartial, and unbiased professional analyses, opinions, and
             conclusions.— I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the
             parties involved.— I have no bias with respect to the property that is the subject of this report or to the parties involved with this assignment.— My
             engagement in this assignment was not contingent upon developing or reporting predetermined results.— My compensation for completing this
             assignment is not contingent upon the development or reporting of a predetermined value or direction
             in value that favors the cause of the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent
             event directly related to the intended use of this appraisal.— My analyses, opinions, and conclusions were developed, and this report has been
             prepared, in conformity with the Uniform Standards of Professional Appraisal Practice that were in effect at the time this report was prepared.— I
             did not base, either partially or completely, my analysis and/or the opinion of value in the appraisal report on the race, color, religion,
             sex, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property, or of the present
             owners or occupants of the properties in the vicinity of the subject property.
             — Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.additional Certifications:




             Client Contact:   John Harney                                                          Client Name: John Harney
             E-Mail:                                                                          Address: 400 Stewart Avenue, Las Vegas, NV 89101
             APPRAISER                                                                                       SUPERVISORY APPRAISER (if required)
                                                                                                             or CO-APPRAISER (if applicable)
SIGNATURES




                                                                                                             Supervisory or
             Appraiser Name: Bruce Feldman                                                                   Co-Appraiser Name:
             Company: Silver State Appraisers                                                                Company:
             Phone: (702) 631-2220                            Fax:                                           Phone:                                           Fax:
             E-Mail: silverstateappraisers@cox.net                                                           E-Mail:
             Date Report Signed:           04/29/2011                                                        Date Report Signed:
             License or Certification #: A.0007448-CR                              State: NV                 License or Certification #:                                                         State:
             Designation:      Certified                                                                     Designation:
             Expiration Date of License or Certification:    08/31/2011                                      Expiration Date of License or Certification:
             Inspection of Subject:           Interior & Exterior     Exterior Only        None              Inspection of Subject:           Interior & Exterior                  Exterior Only            None
             Date of Inspection: 04/27/2011                                                                  Date of Inspection:
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                                                    Form GPRES2AD_LT — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE                                                                      3/2007
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                                          Supplemental Addendum                                            File No. GP116878J
Client           John Harney
Property Address 4842 Camino Hermoso
City             North Las Vegas                         County Clark                           State NV        Zip Code 89031-1049
Lender           John Harney
   SUPPLEMENTAL ADDENDUM

  . URAR : Subject - INTENDED USER/USE -
  This report is intended for use only by John Harney/Assignee's.Use of this report by others is not intended by the appraiser. The
  Intended user is John Harney/Assignee's. The Intended Use is to evaluate the property that is the subject of this appraisal is for
  Asset Valuation Purposes,subject to the stated Scope of Work,purpose of the appraisal,reporting requirements of this appraisal
  report form,and Definition of Market Value.No additional Intended Users are identified by the appraiser. The scope of this
  assignment is specific to the needs of John Harney/Assignee's, the client and only intended user.All other parties that choose to
  rely on the appraisal report should recognize that the assignment results were not developed or reported in a manner consistent
  with the needs or uses of parties other than those identified by the intended user,John Harney/Assignee's.

  . URAR : Site - Zoning Compliance
  Statements regarding zoning compliance are intended in the most general sense.Zoning and building ordinances vary
  significantly from one municipality to another and are applied on a case by case basis.The scope of this assignment does not
  include a detailed analysis of every characteristic of the subject property's site and improvements relative to current zoning and
  building ordinances.
  The subject is a single unit dwelling located on a site zoned for single unit use.Only in this general sense is it considered to
  "legally comply"with the local zoning ordinance.The appraiser has not made a detailed comparison of every property
  characteristic relative to local zoning and building ordinances.

   • URAR : Site - Adverse Conditions or External Factors
  While no adverse site conditions or external factors were observed,many site-related issues are beyond the scope of this
  assignment & the expertise of the appraiser.Unless otherwise noted,standard utility & right of way easements are insignificant to
  value.However,a current locational or boundary survey,which was unavailable to the appraiser,may reveal
  encroachments,easements,zoning violations,or other matters of interest that could warrant modification of the appraiser's
  analysis and opinions.This appraisal is not an environmental assessment of the subject property and should not be relied on as
  such.
  Flood maps often lack sufficient detail to enable accurate determinations on the part of the appraiser.Please note Limiting
  Condition 3 on page 4 of this report.

  . URAR : Improvements - Attic's/crawlspace's
  Attic's and crawlspace's are not part of the appraiser's complete visual inspection.Consequently,the appraisal does not address
  quality or condition issues related to attic or crawlspace areas.

  . URAR : Improvements - Infestation
  At the time of viewing,specific signs of infestation were not noticed by the appraiser.However,the appraiser is not an expert in
  this area and did not conduct the type of intensive inspection required to discover infestation.If concerned,the client is invited to
  employ the services of an expert in the area of infestation.
  The reader is directed to LImiting Condition 5 on page 4 of this report to understand the limitations on the appraiser's
  responsibilities relative to hidden or unapparent physical deficiencies or adverse conditions of the property.The appraisal should
  not be relied on as a substitute for a home inspection.

   . URAR : Improvements - Dampness
  At the time of viewing,specific signs of dampness were not noticed by the appraiser.However,the appraiser is not an expert in
  this area and did not conduct the type of intensive inspection required to discover dampness.If concerned,the client is invited to
  employ the services of an expert in the area of excessive moisture and/or dampness.
  The reader is directed to Limiting Condition 5 on page 4 of this report to understand the limitations on the appraiser's
  responsibilities relative to hidden or unapparent physical deficiencies or adverse conditions of the property.The appraisal should
  not be relied on as a substitute for a home inspection.

   . URAR : Improvements - Settlement
  At the time of viewing,specific signs of settlement were not noticed by the appraiser.However,the appraiser is not an expert in
  this area and did not conduct the type of intensive inspection required to discover settlement.If concerned,the client is invited to
  employ the services of an expert in the area of settlement.
  The reader is directed to Limiting Condition 5 on page 4 of this report to understand the limitations on the appraiser's
  responsibilities relative to hidden or unapparent physical deficiencies or adverse conditions of the property.The appraisal should
  not be relied on as a substitute for a structural engineering report.

   . URAR : Improvements - Condition of foundation walls,exterior walls,roof surface
  The actual condition of items like foundation walls,exterior walls,and roof surface can be difficult to assess.Often,significant
  portions of these items can be hidden from view and even under the best conditions the appraiser can only view surface
  areas.The origin of many problems related to foundation walls,exterior walls,or roof surfaces are internal and thus hidden from
  the appraiser's view.
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Client           John Harney
Property Address 4842 Camino Hermoso
City             North Las Vegas                           County Clark                          State NV         Zip Code 89031-1049
Lender           John Harney
   The reader is reminded that Limiting Condition 5 on page 4 of this report states that the "appraiser has no knowledge of any
   hidden or unapparent physical deficiencies or adverse conditions of the property (such as,but not limited to,needed
   repairs,deterioration,the presence of hazardous wastes,toxic substances,adverse environmental conditions,etc.)that would
   make the property less valuable,and has assumed that there are no such conditions and makes no guarantees or
   warranties,express or implied.The appraiser will not be responsible for any such conditions that do exist or for any engineering
   or testing that might be required to discover whether such conditions exist."
   The subject's exterior finish may be EIFS,or synthetic stucco.EIFS is an acronym used by architects and others in the building
   trades that stands for Exterior Insulation and Finish System.A typical EIFS finish,or cladding,utilizes a foam board (usually
   expanded polystyrene) attached to a substrate (sheathing) such as plywood,oriented strand board (OSB),exterior grade gypsum
   board,or cement based composition board.The foam is then covered with a fiber mesh,embedded in a thin base coat of cement
   like material.A finish coat of colored,textured,latex based material is applied over the base coat.The result is a durable finish
   with good insulation properties and excellent aesthetic flexibility.
   Properly applied,the finish coat is relatively maintenance free and waterproof.However,if water does penetrate the finish (usually
   through improperly caulked window and door openings) it cannot easily escape.The trapped water creates the potential for
   decay and rotting of both structural and non structural framing members.
   If EIFS is applied per the manufacturer's specifications and properly maintained thereafter,most installations will be moisture
   free.Some EIFS installations are now designed with drainage mats (under the foam) that allow moisture to escape.It is unknown
   whether the subject has a barrier or drainage EIFS cladding.
   The appraiser is not an expert in the field of evaluating problems associated with EIFS systems.It is recommended that the
   client employ qualified experts to inspect and address any area of concern.If negative conditions are discovered,the value
   estimate will likely require modification.

  "The intended user should be aware that the term "Inspection" may be found on this standard appraisal form. The appraiser is
  required to use this form, and cannot modify it. The term inspection found anywhere in this report is to mean a "Personal Visual
  Inventory" of the subject's or comparable property's components. This is opposed to a "Home Inspection," which investigates
  the appropriateness and soundness of various components of the improvements."

  , Certification
  The reported value contained in the attached report is an unbiased,independent valuation of the subject property.The appraisal
  is not based on any of the following: a requested minimum value,a specific value or the approval of a loan.

  .Lead Based Paint Disclosure
  If the subject was constructed prior to 1978 there may or may not be lead based paint and/or other hazardous substances.
  The client is hereby notified that the Appraiser is not qualified to detect these substances and that it is beyond the scope of this
  appraisal to ascertain the presence of lead based paint and/or other hazardous substances that may be present in the subject
  property.The client is advised to consult a qualified expert(s) in the detection of lead based paint and/or hazardous substances if
  further information is desired.

  Special assessments,easements,liens see title report.

  Reconciliation and comps/listings
  Due to the market being driven/defined by bank owned/short sales/foreclosures there can be a wide range of values on sales
  and listings.Sales prices seem to be more dependent on what the bank has had to lose on the property and how quickly they
  need to move the property and how much more they are willing to lose on it to do so.This varies from bank to bank.Thus often
  times there appears to be no real pattern to the sales and listings.
  Often times properties are listing very low in order to generate activity and bidding wars,so the list price is not always a good
  indication of what is truly happening in the market.This can lead to an overinflated SP/LP ratio.Other times listings can be a
  good indication of what is happening in the market.
  REO's are persistently present,competing with and thus having an impact on the market.Due to their prevalence in the market it
  was necessary to utilize such properties in the report.

  Comparable selection:
  Beginning search parameters were seeking SFR within the same subdivision,then expanded to a one mile radius,within 20%+/-
  GLA, age range 5 years +/-,closed within the past 6 months,with contract date given weight in selection as well.The sales
  chosen for gridding were by similar bedroom count and room count to match utility attracting the same buyers.

  Foreclosure/REO Activity:
  Of the total comps found in the comp sale search the majority were bank owned properties.The comps selected were found to
  be among the most similar sales and most proximate sales to the subject.

  Final Reconciliation:
  Having analyzed all sales,more weight is given to the comps with lower adjustments and more recent contract date.All sales
  were considered equal in function and/or appeal to the same market of buyers and thus all were given consideration.
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                                                         Subject Photo Page
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Property Address   4842 Camino Hermoso
City               North Las Vegas                            County Clark                               State NV        Zip Code 89031-1049
Lender             John Harney




                                                                                                                     Subject Front
                                                                                                   4842 Camino Hermoso
                                                                                                   Sales Price       0
                                                                                                   Gross Living Area 1,396
                                                                                                   Total Rooms       6
                                                                                                   Total Bedrooms    3
                                                                                                   Total Bathrooms   2.00
                                                                                                   Location          Average
                                                                                                   View              Residential
                                                                                                   Site              6,363 Sq.Ft.
                                                                                                   Quality           Average
                                                                                                   Age               20




                                                                                                                     Subject Rear




                                                                                                                     Subject Street




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                                                     Photograph Addendum
Client             John Harney
Property Address   4842 Camino Hermoso
City               North Las Vegas                          County Clark                                State NV     Zip Code 89031-1049
Lender             John Harney




                        Subject House #                                                             Subject Kitchen




                      Subject Living Room                                                          Subject Bedroom




                        Subject Bathroom                                                          Subject Bathroom



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                                                     Comparable Photo Page
Client             John Harney
Property Address   4842 Camino Hermoso
City               North Las Vegas                            County Clark                               State NV      Zip Code 89031-1049
Lender             John Harney




                                                                                                                Comparable 1
                                                                                                   5630 Cabinhill Circle
                                                                                                   Prox. to Subject  0.98 miles N
                                                                                                   Sales Price       83,000
                                                                                                   Gross Living Area 1,467
                                                                                                   Total Rooms       6
                                                                                                   Total Bedrooms    3
                                                                                                   Total Bathrooms   2.00
                                                                                                   Location          Average
                                                                                                   View              Residential
                                                                                                   Site              6,900 Sq. Ft.
                                                                                                   Quality           Average
                                                                                                   Age               20




                                                                                                                Comparable 2
                                                                                                   5018 Sail Rock Place
                                                                                                   Prox. to Subject  0.43 miles NW
                                                                                                   Sales Price       90,000
                                                                                                   Gross Living Area 1,369
                                                                                                   Total Rooms       5
                                                                                                   Total Bedrooms    3
                                                                                                   Total Bathrooms   2.00
                                                                                                   Location          Average
                                                                                                   View              Residential
                                                                                                   Site              5,378 Sq.Ft.
                                                                                                   Quality           Average
                                                                                                   Age               12




                                                                                                                Comparable 3
                                                                                                   2218 Hollow Oak Avenue
                                                                                                   Prox. to Subject  0.83 miles NW
                                                                                                   Sales Price       86,000
                                                                                                   Gross Living Area 1,304
                                                                                                   Total Rooms       5
                                                                                                   Total Bedrooms    3
                                                                                                   Total Bathrooms   2.00
                                                                                                   Location          Average
                                                                                                   View              Residential
                                                                                                   Site              6,362 Sq.Ft.
                                                                                                   Quality           Average
                                                                                                   Age               12




                                 Form PICPIX.CR — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
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                                                                 Plat Map
Client             John Harney
Property Address   4842 Camino Hermoso
City               North Las Vegas                           County Clark                              State NV     Zip Code 89031-1049
Lender             John Harney




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                                                             Location Map
Client             John Harney
Property Address   4842 Camino Hermoso
City               North Las Vegas                           County Clark                              State NV     Zip Code 89031-1049
Lender             John Harney




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                                                            Building Sketch
Client             John Harney
Property Address   4842 Camino Hermoso
City               North Las Vegas                           County Clark                                State NV     Zip Code 89031-1049
Lender             John Harney




                                                                                           7'
                                                 7'
                         22'




                                                                                                                     29'
                          10'




                                  28'




                                                                                                                      20'




                                Form SKT.BldSkI — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
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                                           License




           Form SCNLGL — "WinTOTAL" appraisal software by a la mode, inc. — 1-800-ALAMODE
